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                      Case 1:22-cv-00424-RP Document 22-11 Filed 05/09/22 Page 1 of 4




                                     IN THE UNITED STATES DISTRICT COURT
                                      FOR THE WESTERN DISTRICT OF TEXAS
                                                AUSTIN DIVISION

                LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-cv-00424-RP
                PURYEAR, KATHY KENNEDY,                    §
                REBECCA JONES, RICHARD DAY,                §
                CYNTHIA WARING, AND DIANE                  §
                MOSTER,                                    §
                                                           §
                   Plaintiffs,                             §
                                                           §
                           v.                              §
                                                           §
                LLANO COUNTY, RON CUNNINGHAM, §
                in his official capacity as Llano County   §
                Judge, JERRY DON MOSS, in his official §
                capacity as Llano County Commissioner,     §
                PETER JONES, in his official capacity as   §
                Llano County Commissioner, MIKE            §
                SANDOVAL, in his official capacity as      §
                Llano County Commissioner, LINDA           §
                RASCHKE, in her official capacity as Llano §
                County Commissioner, AMBER MILUM, §
                in her official capacity as Llano County   §
                Library System Director, BONNIE            §
                WALLACE, in her official capacity as       §
                Llano County Library Board Member,         §
                ROCHELLE WELLS, in her official            §
                capacity as Llano County Library Board     §
                Member, RHONDA SCHNEIDER, in her           §
                official capacity as Llano County Library  §
                Board Member, and GAY BASKIN, in her §
                official capacity as Llano County Library  §
                Board Member,                              §
                                                           §
                   Defendants.                             §



                             DECLARATION OF CYNTHIA WARING IN SUPPORT OF
                            PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                      Case 1:22-cv-00424-RP Document 22-11 Filed 05/09/22 Page 2 of 4




                    I, Cynthia Waring, declare:

                    1.       I make this declaration based on personal knowledge. If called upon to testify, I

            could and would testify competently to the following facts.

                    2.       I am a resident of Llano County. I have a library card that gives me access to

            books available in the Llano County public libraries. I have used my Llano County library card

            to check out books from the public libraries for several years. I check out many different types of

            library books from Llano County public libraries on a variety of topics, including fiction and

            nonfiction books, and books written for young adults and adults.

                    3.       I know that several books were removed from Llano County’s physical library

            collection, including the following: (1) Caste: The Origins of Our Discontent by Isabel

            Wilkerson; (2) They Called Themselves the K.K.K: The Birth of an American Terrorist Group by

            Susan Campbell Bartoletti; (3) Spinning by Tillie Walden; (4) In the Night Kitchen by Maurice

            Sendak; (5) It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual Health by

            Robie Harris; (6) a read-aloud picture book series including My Butt is So Noisy!, I Broke My

            Butt!, and I Need a New Butt! by Dawn McMillan; (7) a read-aloud picture book series including

            Larry the Farting Leprechaun, Gary the Goose and His Gas on the Loose, Freddie the Farting

            Snowman, and Harvey the Heart Has Too Many Farts by Jane Bexley; (8) Being Jazz: My Life

            as a (Transgender) Teen by Jazz Jennings; (9) Shine by Lauren Myracle; (10) Gabi, a Girl in

            Pieces by Isabel Quintero; and (11) Freakboy by Kristin Elizabeth Clark. I cannot check out

            these books because they are no longer on library shelves or in the Llano County library catalog.

            I would check out these books in the future if they were returned to library shelves.

                    4.       I would also use my library card to access ebooks and audiobooks on OverDrive

            in the future if access to OverDrive were reinstated.



                                                              1
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                      Case 1:22-cv-00424-RP Document 22-11 Filed 05/09/22 Page 3 of 4




                    5.       Before its termination, OverDrive was of particular importance to me because I

            suffer from visual impairments that make reading regular-sized print books very difficult. The

            viewing features that ebooks offer me, for example, adjusting font size and lighting background,

            are extremely helpful for reading.

                    6.       OverDrive was also a vital resource for me because my husband and I frequently

            travel to Austin to visit my daughter, in part because our granddaughter has special needs and

            requires adult supervision at all times and the circle of adults who can and do provide this care is

            very limited. With all the travelling we have to do, OverDrive was life changing for me because

            it offered me access to library books while away from home. Since the pandemic started, I

            became even more dependent on OverDrive. I was unable to go into a library in person because I

            could not risk infecting my granddaughter or my 85-year-old husband. E-reading was all I could

            do during the pandemic. And thank the stars I had it!

                    1.       When Llano County took away access to Overdrive I was absolutely devastated. I

            could not believe that the County my home is in, and the County I pay taxes to, took away more

            than 17,000 books from me and others in one fell swoop. And to this day, they are still gone. I

            have attempted to access OverDrive with my Llano County library card without success. I was

            also angered, dismayed, and outraged with the removal of OverDrive because of my concerns for

            my husband, who suffers from wet macular degeneration (gradual blindness). As a family, we

            have had a long road with this disease. He gets shots in his eye about every month or two to

            address the progression of vision loss. OverDrive was truly a game changer for him and our

            family. For years I have witnessed that OverDrive enables him to continue to thrive and be

            connected to the world because he can still read books because of it. This connection that




                                                             2
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                      Case 1:22-cv-00424-RP Document 22-11 Filed 05/09/22 Page 4 of 4




            OverDrive offers is very dear to me and I feel fiercely about protecting it, not only because of

            my own vision impairments but also for him and others like him.

                    2.       I absolutely revere libraries. I have since I was a child, when I used to ride my

            bicycle to my local library. A kind librarian recognized how much I needed that sanctuary, and

            encouraged me to read all kinds of books, including books I never would have picked for myself:

            fiction, non-fiction, autobiographies of people I could not even have imagined. Those books

            inspired me. I became a prolific reader.

                    3.       The censorship of library books is so troubling to me not just because I cannot

            access books that I want to read, but because all of Llano County is being deprived of access to

            books and to the sanctuary they can provide.

                    I swear under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct to the best of my knowledge.



            Dated: May 8, 2022                               By:
                                                                   Cynthia Waring




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